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                           EXHIBIT C
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                                   SNIK LLC v. SAMSUNG ELECTRONICS CO., LTD., et al.
                                               EDTX Case No. 19-cv-00387 JRG
                                           Preliminary Infringement Contentions re
                                                U.S. Patent No. US9167329B2


US9167329B2
       I. Asserted claims:
               a. 1, 5, 7, 10, 12-14, 22, 36-42, 54-55
      II. Accused apparatus, products, devices, processes, methods, acts or instrumentalities:
               a. Samsung Galaxy Buds; Samsung Galaxy Buds+ (also styled Samsung Galaxy Buds Plus)
      III. Snik LLCis informed and believes that the accused products, devices, processes, methods, acts or instrumentalities infringe
           either literally or through the doctrine of equivalents.
      IV. US9167329B2 claims priority to provisional application Ser. No. 61/601722, filed on February 22, 2012, which is incorporated
           herein by this reference
      V. References:

[1]      http://downloadcenter.samsung.com/content/MC/201902/20190221105505228/EB/Len/start_here.html
[2]      https://www.inverse.com/article/53923-galaxy-buds-airpods-samsung-rival
[3]      https://imgur.com/RoKlYKl
[4]      https://www.broadcom.com/company/news/product-releases/2389392
[5]      https://www.samsung.com/global/galaxy/galaxy-buds/specs/
[6]      https://www.samsung.com/global/galaxy/galaxy-buds/
[7]      https://www.samsung.com/us/mobile/audio/galaxy-buds/?cid=sem-mktg-pfs-aacc-22019-
         22493&gclid=EAIaIQobChMIm87h3M-h5QIVEsRkCh21hgQBEAAYASAAEgKrUPD_BwE&gclsrc=aw.ds
[8]      https://news.samsung.com/global/hands-on-review-of-the-all-new-galaxy-buds
[9]      https://www.samsung.com/us/mobile/audio/galaxy-buds/
[10]     http://www.mytechgadgetnews.com/what-does-the-apple-h1-chip-imply-for-audio-do-android-customers-have-an-alternate/
[11]     https://www.samsung.com/au/support/mobile-devices/using-the-samsung-galaxy-buds/
[12]     https://www.samsung.com/us/support/answer/ANS00078137/
[13]     https://9to5mac.com/2019/03/14/samsung-galaxy-buds-vs-apple-airpods/
[14]     http://www.52audio.com/archives/24983.html
[15]     http://www.topbluetoothheadphone.com/e-tears-open-solution-galaxy-buds-tears-open-solution-to-go-up-earphone-tears-
         open-solution.html
[16]     https://www.youtube.com/watch?v=vRZNXa1bozA
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[17]  https://www.sammobile.com/news/galaxy-buds-plus-teardown-confirms-most-repairable-tws/
[18]  https://www.samsung.com/us/mobile/audio/galaxy-buds-plus/specs/
[19]  https://www.samsung.com/us/mobile/audio/galaxy-buds-plus/
[20]  https://www.samsung.com/us/support/owners/product/galaxy-buds-plus
[21]  http://downloadcenter.samsung.com/content/UM/202003/20200306230854916/WEA_SM-
      R175_Galaxy_Buds_Plus_EN_IBG_030420_FINAL.pdf
[22] https://www.samsung.com/global/galaxy/galaxy-buds-plus/specs/
[23] Teardown Photographs Taken on 04/12/2020 and 05/14/2020
[24] Galaxy Buds+ User Manual at
      http://downloadcenter.samsung.com/content/MC/202003/20200318123539528/EB/Len/003_basics_3.html#1
[25] https://www.samsung.com/us/mobile/audio/galaxy-buds-plus/?cid=sem-mktg-pfs-aacc-us-google-na-03012020-169931-
      &ds_e=GOOGLE-cr:0-pl:268643744-&ds_c=FF~Galaxy+Buds+-
      +Core+Brand_CN~GBP_PH~on_MK~usnat_BS~me_PR~wiaud_SB~galbup_PK~CPL_FS~lo_CA~kew_MD~h_KS~ba_MT~bm
      m-&ds_ag=AG~Samsung+Galaxy+Buds_MK~usnat_AT~ta_MD~h_AI~No-
      &ds_k=%2Bsamsung+%2Bgalaxy+%2Bbuds&gclid=EAIaIQobChMIv4aCrIPm6AIV3x-
      tBh3m1QZ6EAAYASAAEgIYPvD_BwE&gclsrc=aw.ds
 [26] http://downloadcenter.samsung.com/content/MC/202003/20200318123539528/EB/Len/004_using-the-earbuds_5.html#0




  Claim 1                                  Evidence

  1[pre]. A system for holding a set of    The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
  earphones comprising:                    1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                           not limiting).




                                                                                                                            2
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1[a] a holder body comprising one or more   Samsung Galaxy Buds comprise a charging case with one or more magnets:
magnets;




                                                                                                 [1]




                                                                                                            [2]




                                                                                                                     3
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                                                                                  [3]




                                                                                        4
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                                                                                         [14]
                           English Translation: Use multiple magnets to assist in headphone positioning

                           Samsung Galaxy Buds+ comprise a charging case with one or more magnets:




                                                                        [24]




                                                                       [23]




                                                                                                          5
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                                                     [23]




                                                                                  6
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1[b] a set of earphones comprising a           Samsung Galaxy Buds comprise a set of earphones with magnetically attractable
magnetically attractable surface for removably surfaces for removably coupling with the one or more magnets:
coupling with the one or more magnets; and




                                                                                                                  [2]




                                                                                                          [3]




                                                                                                                               7
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                                                                                  [1]




                                                                                        [14]




                                                                                               8
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                           Samsung Galaxy Buds+ comprise a set of earphones with magnetically attractable
                           surfaces for removably coupling with the one or more magnets:




                                                                                 [24]

                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [24]




                                                                                   [16]




                                                                                                        9
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                                                                                   [16]

                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                          [16]




                                                                                                            10
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1[c] an electronic device controller coupled   Samsung Galaxy Buds comprise an electronic device controller coupled to receive an
to receive an activation signal when one or    activation signal when one or more of the set of earphones are decoupled from one of
more of the set of earphones are decoupled     the one or more magnets:
from one of the one or more magnets,
wherein the electronic device controller
receives a deactivation signal when one or
more of the set of earphones are coupled to
one of the or more of the magnets.




                                                                                                                           [4]




                                                                                                                             [4]

                                               Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                            11
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                                                                                        [14]

                           On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                           the BCM43014 System on Chip and are responsive to a magnetic Hall sensor:




                                                                                                       12
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                                                                                        [5]




                                                                                   13
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                                                                                   [14]




                                                                                   [8]




                                                                                          14
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                           [8]

                           Also, Samsung Galaxy Buds detect if one or more earbuds are decoupled from one or more
                           of the magnets comprising the holder body and accordingly control the sound output in
                           the earbuds. Further, if one or more earbuds are coupled to one or more of the magnets
                           comprising the holder body, the music stops automatically.




                           [11]

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds earphones are
                           deactivated and cannot play audio when in the holder.




                                                                                                       15
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                                                                                           [8]




                           [8]

                           On information and belief, Galaxy Buds are compatible with Samsung Galaxy
                           products, all of which include a controller configured to receive Bluetooth signals,
                           including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                           S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                           A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e.




                                                                                                     16
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                                                                                                      [5]




                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]

                           On information and belief, Galaxy Buds are also compatible with other
                           smartphones, including without limitation Apple iPhones, which also include a
                           controller for receiving Bluetooth signals.




                                                                                                 17
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                                                          [7]

                           When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                           earphones activate and begin playing audio when removed from the charging case.

                           Samsung Galaxy Buds+ comprise an electronic device controller coupled to
                           receive an activation signal when one or more of the set of earphones are
                           decoupled from one of the one or more magnets:




                                                                         [16]

                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                                                                  18
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                                                           [23]

                           On information and belief, BCM43015 System on Chip includes a control unit and a
                           sensor hub. On information and belief, the Samsung S2MUA01X chips and the control
                           unit and sensor hub of the BCM43015 System on Chip are responsive to a magnetic Hall
                           sensor:




                                                                                                     19
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                       [16]




                                                                                                            20
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                                                                                   [22]




                                                                                    21
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                                                                 [23]




                                                                                   22
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                                          Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from one or
                                          more of the magnets comprising the holder body and accordingly control the sound output
                                          in the earbuds. Further, if one or more earbuds are coupled to one or more of the magnets
                                          comprising the holder body, the audio stops.

                                          The electronic device controller receives a deactivation signal when one or more of
                                          the set of earphones are coupled to one or more of the magnets. When paired to
                                          a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                                          deactivated and cannot play audio when in the holder.

                                          Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                                          or higher, including without limitation Samsung Galaxy products, all of which
                                          include a controller configured to receive Bluetooth signals, including without
                                          limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                                          Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                                          Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                                          In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                                          of higher.

                                           Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                                          10


                                          RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]


Claim 5                                   Evidence

5. The system of claim 1 wherein the Samsung Galaxy Buds comprise a set of earphones with a magnetically attractable
magnetically attractable surface is non- surface that is non-removable:
removable.




                                                                                                                                23
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                                                                                   [2]




                                                                                         24
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                                                                                   [3]




                           [13]




                                                                                         25
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                                                                                                 [14]

                           Samsung Galaxy Buds+ comprise a set of earphones with magnetically attractable
                           surface that is non-removable:




                                                                                 [24]




                                                                                                        26
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                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [24]




                                                                                      [16]




                                                                               [16]




                                                                                                       27
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                                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                                            [17]




                                                                                                         [16]



Claim 7                                     Evidence

7. The system of claim 1 further comprising Samsung Galaxy Buds comprise a charging case with one or more magnets:
one or more additional magnets.




                                                                                                                             28
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                                                                         [1]




                                                                                   [2]




                                                                                         29
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                                                                            [3]




                                                                             [14]




                                                                                    30
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                           English Translation: Use multiple magnets to assist in headphone positioning

                           Galaxy Buds earphones include one or more additional magnets:




                                                                                                     [14]


                           Samsung Galaxy Buds+ comprise a charging case with one or more magnets:




                                                                                                            31
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                                                               [24]




                                                               [23]




                                                     [23]




                                                                                   32
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                           Samsung Galaxy Buds+ comprise a earbuds with one or more magnets:




                                                                                 [24]

                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [24]




                                                                                   [16]




                                                                                                       33
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                                                                                   [16]

                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                          [16]




                                                                                                            34
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Claim 10                                   Evidence

10[pre]. An earphones holder comprising:   The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
                                           1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                           not limiting).



10[a]. a holder body;                      Samsung Galaxy Buds comprise a charging case:




                                                                                                                [9]



                                           Samsung Galaxy Buds+ comprise a charging case:




                                                                                                                           35
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                                                                                          [24]




10[b]. one or more holder magnetically         Samsung Galaxy Buds case comprises magnetically attractable surfaces configured to
attractable surfaces configured to             magnetically couple to one or more earphone magnetically attractable surfaces:
magnetically couple to one or more earphone
magnetically attractable surfaces coupled to
one or more earphones; and




                                                                                                                  [2]




                                                                                                                           36
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                                                                                   [3]




                                                                                         37
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                                                                                         [14]
                           English Translation: Use multiple magnets to assist in headphone positioning




                           [13]

                           Samsung Galaxy Buds+ comprise a earbuds with one or more magnetically attractable
                           surfaces:




                                                                                                          38
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                                                                                                  [14]


                           Samsung Galaxy Buds+ case comprises magnetically attractable surfaces configured to
                           magnetically couple to one or more earphone magnetically attractable surfaces:




                                                                                                         39
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                                                                    [23]




                                                         [23]

                           Samsung Galaxy Buds+ comprise a earbuds with one or more magnetically attractable
                           surfaces:




                                                                                [24]




                                                                                                     40
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                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [24]




                                                                                      [16]




                                                                               [16]




                                                                                                       41
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                                                The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                                                does make better use of all of its internal space. This time, the 0.315Wh battery is
                                                supplied by EVE instead of Varta, and it, together with the main printed circuit board
                                                (PCB), reside in one half of the earbud. The other half of each earbud contains the
                                                charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                                                drivers which are reportedly more difficult to remove (and haven’t been in the video).
                                                [17]




                                                                                                             [16]



10[c]. an electronic device controller coupled Samsung Galaxy Buds comprise, an electronic device controller coupled to receive an
to receive an activation signal when one or      activation signal when one or more of the earphones magnetically attractable surfaces
more of the earphone magnetically                are decoupled from one of the one or more holder magnetically attractable surfaces:
attractable surfaces are decoupled from one
of the one or more holder magnetically
attractable surfaces, wherein the electronic
device controller receives a deactivation signal
when one or more of the earphone
magnetically attractable surfaces are coupled
to one of the one or more holder magnetically
attractable surfaces.




                                                                                                                                 42
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                                                                                               [4]




                                                                                                [4]

                           Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                               43
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                                                                                       [14]

                           On information and belief, the sensor hub of the BCM43014 System on Chip and the
                           ABOV F6432AUB are responsive to a magnetic Hall sensor:

                           On information and belief, the the ABOV F6432AUB and the controller and/or sensor hub
                           of the BCM43014 System on Chip is responsive to a magnetic Hall sensor:




                                                                                                      44
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                                                                                        [5]




                                                                                   45
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                           [10]




                                                                                   [14]




                                                                                          46
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                                                                                             [8]




                           [8]

                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                           of the magnetically attractable surfaces attached to the holder body and accordingly
                           control the sound output in the earbuds. Further, if one or more earbuds are coupled to
                           one or more of the magnetically attractable surfaces attached to the holder body, the
                           music stops automatically.




                                                                                                        47
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                           [11]

                           The electronic device controller receives a deactivation signal when one or more of the
                           earphones magnetically attractable surfaces are coupled to one of the one or more holder
                           magnetically attractable surfaces. When paired to a Bluetooth device that is playing audio,
                           one or both Galaxy Buds earphones are deactivated, and audio stops automatically when
                           in the holder.




                                                                                                [8]




                                                                                                           48
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                           [8]

                           On information and belief, Galaxy Buds are compatible with Samsung Galaxy
                           products, all of which include a controller configured to receive Bluetooth signals,
                           including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                           S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                           A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e.




                                                                                                          [5]




                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]




                                                                                                     49
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                           On information and belief, Galaxy Buds are also compatible with other
                           smartphones, including without limitation Apple iPhones, which also include a
                           controller for receiving Bluetooth signals.




                                                          [7]

                           Samsung Galaxy Buds+ comprise, an electronic device controller coupled to
                           receive an activation signal when one or more of the earphone magnetically
                           attractable surfaces are decoupled from one of the one or more holder
                           magnetically attractable surfaces:




                                                                         [16]




                                                                                                  50
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                           Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                           belief, the S2MUA01X chips include a controller unit.




                                                            [23]

                           On information and belief, BCM43015 System on Chip includes a control unit and a
                           sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                           magnetic Hall sensor:




                                                                                                       51
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                       [16]




                                                                                                            52
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                                                                                   [22]




                                                                                    53
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                                                                 [23]




                                                                                   54
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                           Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                           one or more of the magnetically attractable surfaces comprising the holder body
                           and accordingly control the sound output in the earbuds. Further, if one or more
                           earbuds are coupled to one or more of the magnetically attractable surfaces
                           comprising the holder body, the audio stops.

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnetically attractable
                           surfaces. When paired to a Bluetooth device that is playing audio, one or both
                           Galaxy Buds+ earphones are deactivated and cannot play audio when in the holder.

                           Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                           or higher, including without limitation Samsung Galaxy products, all of which
                           include a controller configured to receive Bluetooth signals, including without
                           limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                           Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                           Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                           In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                           of higher.

                            Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                           10


                           RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




                                                                                                                 55
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Claim 12                                     Evidence

12. The earphones holder of claim 10 wherein Samsung Galaxy Buds comprise a charging case with one or more magnetically
the one or more magnetically attractable attractable surfaces comprising one or more magnets:
surfaces comprise one or more magnets.




                                                                                                   [1]




                                                                                                              [2]




                                                                                                                          56
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                                                                                   [3]




                                                                                         57
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                                                                                         [14]
                           English Translation: Use multiple magnets to assist in headphone positioning

                           Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                           attractable surfaces comprising one or more magnets:




                                                                        [24]




                                                                       [23]




                                                                                                          58
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                                                     [23]




                                                                                   59
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Claim 13                                      Evidence

13. The earphones holder of claim 12 wherein Samsung Galaxy Buds comprise a charging case with magnetically attractable surfaces
the one or more magnetically attractable for removably coupling with a metal part of a Galaxy bud:
surfaces are configured for removably coupling
with a metal part of an earbud.




                                                                                                    [1]




                                                                                                                [2]




                                                                                                                         60
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                                                                                   [3]




                                                                                         61
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                                                                                         [14]




                           [13]

                           Samsung Galaxy Buds+ comprise a charging case with magnetically attractable surfaces
                           for removably coupling with a metal part of a Galaxy Buds+:




                                                                                                      62
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                                                               [24]




                                                               [23]




                                                     [23]




                                                                                   63
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                                                                                 [24]

                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [24]




                                                                                   [16]




                                                                                                       64
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                                                                                   [16]

                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                          [16]




                                                                                                            65
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Claim 14                                      Evidence

14. The earphones holder of claim 10 wherein Samsung Galaxy Buds comprise a charging case with magnetically attractable surfaces
the one or more holder magnetically embedded within the case.
attractable surfaces are built into or embedded
within the body.




                                                                                                    [1]




                                                                                                                [2]




                                                                                                                         66
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                                                                                       [3]




                                                                                         [14]
                           English Translation: Use multiple magnets to assist in headphone positioning




                                                                                                          67
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                           Samsung Galaxy Buds+ comprise a charging case with magnetically attractable surfaces
                           embedded within the case:




                                                                         [24]




                                                                     [23]




                                                                                                      68
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                                                                           [23]



Claim 22                                   Evidence

22[pre]. An earphones holder comprising:   The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
                                           1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                           not limiting).



22[a] a holder body;                       Samsung Galaxy Buds comprise a charging case:




                                                                                                                           69
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                                                                                              [9]

                                             Samsung Galaxy Buds+ comprise a charging case:




                                                                                       [24]



22[b] one or more magnetically attractable   Samsung Galaxy Buds comprise a charging case with one or more magnetically
surfaces attached to the holder body,        attractable surfaces:




                                                                                                                          70
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                                                                         [1]




                                                                                   [2]




                                                                                         71
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                                                                                       [3]




                                                                                         [14]
                           English Translation: Use multiple magnets to assist in headphone positioning




                                                                                                          72
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                           Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                           attractable surfaces:




                                                                     [24]




                                                                    [23]




                                                                                                    73
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                                                                        [23]



22[c] an earbud engagement detector; and   Samsung Galaxy Buds comprise an earbud engagement detector:




                                                                                                         [4]




                                                                                                         74
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                                                                                                       [4]

                           Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                       [14]


                           On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                           the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                     75
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                                                                                        [5]




                                                                                   76
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                                                                                               [14]




                           [10]

                           The earbud engagement detector detects if one or more magnetically attractable surfaces
                           of the earphones are coupled/decoupled with one or more magnetically attractable
                           surfaces attached to the holder body and accordingly signals the controller to control the
                           Bluetooth paired device.




                                                                                                           77
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                                                                             [8]




                           [8]




                                                                                   78
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                                                                                            [8]




                           [8]

                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                           of the magnetically attractable surfaces attached to the holder body and accordingly
                           controls the sound output in the earbuds.




                                                                                                       79
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                           [11]

                           Samsung Galaxy Buds+ comprise an earbud engagement detector:




                                                                         [16]

                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                                                               80
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                                                            [23]

                           On information and belief, BCM43015 System on Chip includes a control unit and a
                           sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                           magnetic Hall sensor:




                                                                                                       81
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                       [16]




                                                                                                            82
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                                                                                   [22]




                                                                                    83
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                                                                 [23]




                                                                                   84
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                                                  Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from one or
                                                  more of the magnets comprising the holder body and accordingly control the sound output
                                                  in the earbuds. Further, if one or more earbuds are coupled to one or more of the magnets
                                                  comprising the holder body, the audio stops.

                                                  The electronic device controller receives a deactivation signal when one or more of
                                                  the set of earphones are coupled to one or more of the magnets. When paired to
                                                  a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                                                  deactivated and cannot play audio when in the holder.

                                                  Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                                                  or higher, including without limitation Samsung Galaxy products, all of which
                                                  include a controller configured to receive Bluetooth signals, including without
                                                  limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                                                  Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                                                  Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                                                  In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                                                  of higher.

                                                   Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                                                  10


                                                  RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]

22[d] an electronic device controller for         Samsung Galaxy Buds comprise, an electronic device controller for controlling an electronic
controlling an electronic device coupled to the   device (e.g. Smart Phone) coupled to the earphones:
earphones, wherein a magnet of the
earphones removably couples with the one or
more magnetically attractable surfaces,
further wherein the electronic device
controller sends an activation signal to the
electronic device when the earbud
engagement detector detects that the magnet
of the earphones has been decoupled from




                                                                                                                                        85
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the one or more magnetically attractable
surfaces.




                                                                                                               [4]




                                                                                                                [4]

                                           Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                               86
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                                                                                        [14]

                           On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                           the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                       87
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                                                                                        [5]




                                                                                   88
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                           [10]




                                                                                          [14]


                           The smartphone is activated when the controller sends an activation signal when the
                           engagement detector detects that one or more magnets of the earphones have been
                           decoupled from the one or more magnetically attractable surfaces of the holder:




                                                                                                    89
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                                                                                             [8]



                                                                                                            [8]

                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                           of the magnetically attractable surfaces attached to the holder body and accordingly
                           control the sound output in the earbuds.




                           [11]




                                                                                                       90
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                           When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                           earphones activate and begin playing audio when removed from the charging case.




                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]

                           On information and belief, Galaxy Buds are compatible with Samsung Galaxy products, all
                           of which include a controller configured to receive Bluetooth signals, including without
                           limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                           S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus,
                           and Galaxy S10e.




                                                                                                              [5]




                                                                                                         91
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                           On information and belief, Galaxy Buds are also compatible with other smartphones,
                           including without limitation Apple iPhones, which also include a controller for receiving
                           Bluetooth signals.




                                                              [7]

                           Also, the magnet of the earphones removably couples with the one or more magnetically
                           attractable surfaces of the holder body (e.g. Wireless Charging case):




                                                                                                 [2]




                                                                                                          92
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                                                                             [3]




                                                                             [14]




                                                                                    93
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                           English Translation: Use multiple magnets to assist in headphone positioning




                                                                                                     [14]

                           Samsung Galaxy Buds+ comprise, an electronic device controller for controlling an
                           electronic device (e.g. Smart Phone) coupled to the earphones:




                                                                                                            94
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                                                                      [16]

                           Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                           belief, the S2MUA01X chips include a controller unit.




                                                                                             95
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                                                            [23]


                           On information and belief, the BCM43015 System on Chip includes a control unit and a
                           sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                           magnetic Hall sensor:




                                                                                                       96
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [17]




                                                                                       [16]




                                                                                                            97
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                                                                                   [22]




                                                                                    98
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                                                                  [23]




                                                                                    99
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                            Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                            one or more of the magnets comprising the holder body and accordingly control
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, the audio stops.


                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones are coupled to one or more of the magnets. When paired to
                            a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                            deactivated and cannot play audio when placed in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                            Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                            Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]

                            On information and belief, the BCM43015 in Galaxy Buds+ controls an electronic device
                            coupled to the earphones:




                                                                                                                 100
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                                                                                    [21]




                                                                           [26]




                                                                                       101
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Claim 36                                       Evidence

36[pre]. A method of operating an electronic   The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
device comprising:                             1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                               not limiting).



36[a] detecting an engagement status of a      Samsung Galaxy Buds comprise a method for detecting an engagement status of a
magnetic surface of an earbud with a           magnetic surface of an earbud with a magnetically attractable surface of an earphone’s
magnetically attractable surface of an         holder:
earphones holder;




                                                                                                                              [4]




                                                                                                                             102
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                                                                                                         [4]
                            Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                         [14]

                            On information and belief, the the ABOV F6432AUB and the controller and/or sensor hub
                            of the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      103
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                                                                                          [5]




                                                                                    104
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                            [10]




                                                                                                [14]

                            The earbud engagement detector detects if one or more magnetically attractable surfaces
                            of the earphones are coupled/decoupled with one or more magnetically attractable
                            surfaces attached to the holder body and accordingly signals the controller to control the
                            Bluetooth paired device.




                                                                                                          105
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                                                                             [8]




                            [8]




                                                                                    106
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                                                                                             [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            controls the sound output in the earbuds.




                                                                                                       107
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                            [11]



                            Samsung Galaxy Buds+ comprise a method for detecting an engagement status of a
                            magnetic surface of an earbud with a magnetically attractable surface of an earphones
                            holder:




                                                                       [24]




                                                                                                      108
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                                                               [23]




                                                      [23]




                                                                                    109
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                                                                       [16]

                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                                                            110
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       111
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            112
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                                                                                    [22]




                                                                                    113
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                                                                  [23]




                                                                                    114
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                            Also, Samsung Galaxy Buds+ detect if one or more earbud magnetic surfaces are
                            engaged with magnetically attractable surface of an earphones holder and sends
                            an activation signal when an earphone is decoupled from one or more of the
                            magnetically attractable surfaces of the earphones holder and accordingly controls
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, audio stops.


                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones magnetic surfaces are coupled to one or more of the
                            magnetically attractable surfaces of the holder. When paired to a Bluetooth device
                            that is playing audio, one or both Galaxy Buds+ earphones are deactivated and
                            cannot play audio when in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                            Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                            Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]

                            Samsung Galaxy Buds+ operate an electronic device (e.g. Smart Phone) based
                            upon the engagement status of the earbud.




                                                                                                                 115
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36[b] sending an activation signal to an      Samsung Galaxy Buds comprise an electronic device controller sending an activation signal
electronic device when the magnetic surface   to an electronic device (e.g. Smart Phone) when the magnetic surface of the earbud is
of the earbud is decoupled with the           decoupled with the magnetically attractable surface of the earphones holder:
magnetically attractable surface of the
earphones holder;




                                                                                                                            [4]




                                                                                                                              [4]

                                              Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                           116
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                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      117
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                                                                                          [5]




                                                                                    118
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                                                                                                 [14]

                            When one or more magnetic surface of the earbud is decoupled with the one or more
                            magnetically attractable surface of the earphone’s holder, the controller sends a signal to
                            activate the smartphone:




                                                                                                           119
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                                                                                              [8]




                            [8]

                            Also, Samsung Galaxy Buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            control the sound output in the earbuds.




                                                                                                       120
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                            [11]


                            When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                            earphones activate and begin playing audio when removed from the charging case.




                            Quick pairing out
                            of the box
                            Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                            your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                            well on your way. 1,2,3
                            [6]

                            Samsung Galaxy Buds+ comprise an electronic device controller sending an activation
                            signal to an electronic device (e.g. Smart Phone) when the magnetic surface of the earbud
                            is decoupled with the magnetically attractable surface of the earphones holder:




                                                                                                         121
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                                                                       [16]

                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                                                            122
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       123
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            124
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                                                                                    [22]




                                                                                    125
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                                                                  [23]




                                                                                    126
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                                               Samsung Galaxy Buds+ detect if one or more magnetic surfaces of earbuds are
                                               decoupled from a magnetically attractable surface of the earphones holder and
                                               accordingly control the sound output in the earbuds. Further, if one or more
                                               earbuds are coupled to one or more of the magnets comprising the holder body,
                                               audio stops.

                                               The electronic device controller receives a deactivation signal when one or more of
                                               the set of earphones are coupled to one or more of the magnets. When paired to
                                               a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                                               deactivated and cannot play audio when in the holder.

                                               Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                                               or higher, including without limitation Samsung Galaxy products, all of which
                                               include a controller configured to receive Bluetooth signals, including without
                                               limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                                               Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                                               Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                                               In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                                               of higher.

                                                Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                                               10


                                               RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




36[c] sending a deactivation signal to the     Samsung Galaxy Buds comprise an electronic device controller sending a deactivation
electronic device when the magnetic surface    signal to an electronic device when the magnetic surface of the earbud is coupled to the
of the earbud is coupled to the magnetically   magnetically attractable surface of the earphones holder:
attractable surface of the earphones holder;
and




                                                                                                                                    127
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                                                                                                [4]




                                                                                                  [4]
                            Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                128
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                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      129
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                                                                                          [5]




                                                                                    130
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                                                                                                [14]



                            When one or more magnetic surface of the earbud is coupled to the one or more
                            magnetically attractable surface of the earphones holder, the controller sends a signal to
                            deactivate the smartphone:




                                                                                                          131
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                                                                                              [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            control the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnetically attractable surfaces attached to the holder body, audio
                            stops.




                                                                                                        132
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                            [11]




                                                                                    133
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36[d] operating the electronic device based   Samsung Galaxy buds can operate an electronic device (e.g. Smart Phone) based upon
upon the engagement status of the earbud.     the engagement status of the earbud:




                                                                                                                      [4]




                                                                                                                        [4]
                                              Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                     134
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                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      135
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                                                                                          [5]




                                                                                    136
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                                                                                                [14]


                            When one or more magnetic surface of the earbud is decoupled with the one or more
                            magnetically attractable surface of the earphones holder, the controller sends a signal to
                            activate the smartphone:




                                                                                                          137
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                                                                                         [8]




                            [8]

                            When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                            earphones activate and begin playing audio when removed from the charging case.




                                                                                                 138
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                            Quick pairing out
                            of the box
                            Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                            your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                            well on your way. 1,2,3
                            [6]

                            When one or more magnetic surfaces of the earbud is coupled to the one or more
                            magnetically attractable surfaces of the earphones holder, the controller sends a signal to
                            deactivate the smartphone:




                                                                                                           139
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                                                                                           [8]




                            [8]

                            Samsung Galaxy Buds+ operate an electronic device (e.g. Smart Phone) based upon the
                            engagement status of the earbud:




                                                                                                    140
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                                                                        [16]

                            Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                            the S2MUA01X chips include a controller unit.




                                                                                               141
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       142
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            143
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                                                                                    [22]




                                                                                    144
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                                                                  [23]




                                                                                    145
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                                                                                    [21]




                                                                           [26]




                                                                                       146
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Claim 37                                 Evidence

37[pre]. A system for holding a set of   The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
earphones comprising:                    1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                         not limiting).



37[a] a holder body;                     Samsung Galaxy Buds comprise a charging case:




                                                                                             [9]




                                                                                                                       147
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                                             Samsung Galaxy Buds+ comprise a charging case:




                                                                                        [24]




37[b] one or more magnetically attractable   Samsung Galaxy Buds comprise a charging case with one or more magnetically attractable
surfaces attached to the holder body for     surfaces for removably coupling with a magnetic surface of a set of earphones:
removably coupling with a magnetic surface
of a set of earphones;




                                                                                                    [1]




                                                                                                                        148
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                                                                                    [2]




                                                                                          149
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                                                                                    [3]




                                                                                          150
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                                                                                          [14]
                            English Translation: Use multiple magnets to assist in headphone positioning

                                                                 Position of Magnet in Earbud




                                                                                                  [14]




                                                                                                           151
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                            Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                            attractable surfaces for removably coupling with a magnetic surface of a set of earphones:




                                                                         [24]




                                                                         [23]




                                                                                                          152
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                                                           [23]

                            Your device contains magnets, which may affect medical devices, such as
                            pacemakers or implantable cardioverter defibrillators. If you are using any of these
                            medical devices, keep your device a safe distance from them and consult with your
                            physician before you use the device. [24]




                                                                                    [16]




                                                                                                       153
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                                                                                    [16]

                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                           [16]




                                                                                                            154
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37[c] a touch sensor;                   Samsung Galaxy Buds comprise a touch sensor to control music and answer/end phone
                                        calls:




                                                                                                         [1]




                                                                                                                      [5]




                                                                                                  [9]




                                                                                                                155
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                            Samsung Galaxy Buds+ comprise a touch sensor to control music and answer/end phone
                            calls:




                                                                                [24]




                                                                                                [21]




                                                                                                   156
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                                                                                                [26]


37[d] a touch sensor detector; and      Samsung Galaxy Buds comprise a touch sensor detector to sense the various gestures
                                        performed on earbud’s touchpad:




                                                                                                                        [5]




                                                                                                                  157
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                                                                             [15]




                                                                                          [12]




                                                                                    158
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                                                                                       [12]

                            Samsung Galaxy Buds+ comprise a touch sensor detector to sense the various gestures
                            performed on earbud’s touchpad:




                                                                                                  [21]




                                                                                                     159
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                                                                                                             [26]

                                                 On information and belief, Samsung Galaxy Buds+ include a controller for the touch
                                                 sensor.


37[e] an electronic device controller for        Samsung Galaxy Buds comprise, an electronic device controller for controlling an electronic
controlling an electronic device by sending an   device (e.g. Smart Phone) by sending an activation signal when the magnetic surface of
activation signal when the magnetic surface      the set of earphones is decoupled from the one or more magnetically attractable surfaces,
of the set of earphones is decoupled from the    wherein the system wirelessly communicates with the electronic device:
one or more magnetically attractable
surfaces, wherein the system wirelessly
communicates with the electronic device.




                                                                                                                                 [4]




                                                                                                                                160
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                                                                                                         [4]

                            Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      161
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                                                                                          [5]




                                                                                    162
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                            [10]




                                                                                        [14]


                            The smartphone is activated when the magnetic surface of the set of earphones is
                            decoupled from the one or more magnetically attractable surfaces of the holder:




                                                                                                 163
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                                                                                              [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            control the sound output in the earbuds.




                                                                                                        [11]




                                                                                                       164
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                            When wirelessly paired to a Bluetooth device that is playing audio, one or both Galaxy
                            Buds earphones activate and begin playing audio when removed from the charging case.




                            Quick pairing out
                            of the box
                            Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                            your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                            well on your way. 1,2,3
                            [6]

                            On information and belief, Galaxy Buds are compatible with Samsung Galaxy products, all
                            of which include a controller configured to wirelessly send and receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+;
                            Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy
                            S10, Galaxy S10 Plus, and Galaxy S10e.




                                                                                                                [5]




                                                                                                          165
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                            On information and belief, Galaxy Buds are also compatible with other smartphones,
                            including without limitation Apple iPhones, which also include a controller for receiving
                            Bluetooth signals.




                                                               [7]

                            Samsung Galaxy Buds+ comprise, an electronic device controller for controlling an
                            electronic device (e.g. Smart Phone) by sending an activation signal when the magnetic
                            surface of the set of earphones is decoupled from the one or more magnetically attractable
                            surfaces, wherein the system wirelessly communicates with the electronic device:




                                                                                [16]




                                                                                                          166
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                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       167
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            168
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                                                                                    [22]




                                                                                    169
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                                                                  [23]




                                                                                    170
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                            Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                            one or more of the magnets comprising the holder body and accordingly control
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, audio stops.

                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones are coupled to one or more of the magnets. When wirelessly
                            paired to a Bluetooth device that is playing audio, one or both Galaxy Buds+
                            earphones are deactivated and cannot play audio when in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to wirelessly send or receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                            S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                            A6, Galaxy S10, Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




                                                                                                                 171
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Claim 38                                    Evidence

38. The system of claim 37 further          Samsung Galaxy Buds comprise an earbud engagement detector:
comprising an earbud engagement detector.




                                                                                                          [4]




                                                                                                            [4]




                                                                                                          172
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                            Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      173
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                                                                                          [5]




                                                                                    174
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                            [10]




                                                                                       [14]

                            The earbud engagement detector detects if one or more magnetically attractable
                            surfaces of the earphones are coupled/decoupled with one or more magnetically
                            attractable surfaces attached to the holder body and accordingly signals the
                            controller to control the Bluetooth paired device.




                                                                                                175
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                                                                             [8]




                            [8]




                                                                                    176
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                                                                                        [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one
                            or more of the magnetically attractable surfaces attached to the holder body and
                            accordingly control the sound output in the earbuds. Further, if one or more
                            earbuds are coupled to one or more of the magnetically attractable surfaces
                            attached to the holder body, audio stops.




                                                                                                 177
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                            [11]

                            Samsung Galaxy Buds+ comprise an earbud engagement detector:




                                                                       [16]

                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                                                            178
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       179
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            180
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                                                                                    [22]




                                                                                    181
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                                                                  [23]




                                                                                    182
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                            Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                            one or more of the magnets comprising the holder body and accordingly control
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, audio stops.

                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones are coupled to one or more of the magnets. When paired to
                            a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                            deactivated and cannot play audio when in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                            Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                            Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




                                                                                                                 183
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Claim 39                                   Evidence

39. The system of claim 37 wherein the touch Samsung Galaxy Buds comprise a touch sensor detector that receives a signal
sensor detector receives a signal from the   from the touch sensor and further sends the signal to the electronic device
touch sensor and sends a signal to the       controller:
electronic device controller.




                                                                                                          [1]




                                                                                                   [15]




                                                                                                                 184
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                                                                                              [4]




                                                                                                [4]

                            On information and belief, the sensor hub of the BCM43014 System on Chip is
                            responsive to a touch sensor incorporated in Galaxy Buds:




                                                                                             185
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                                                                                          [5]




                                                                                    186
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                                                                          [9]




                                                                                          [12]




                                                                                    187
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                            Samsung Galaxy Buds+ comprise a touch sensor detector that receives a signal
                            from the touch sensor and further sends a signal to the electronic device
                            controller:




                                                                                 [24]




                                                                          [16]

                            On information and belief, the BCM43015 System on Chip includes a control unit
                            and a sensor hub. On information and belief, the sensor hub of the BCM43015
                            System on Chip is responsive to a touch sensor incorporated in Galaxy Buds+:




                                                                                                 188
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                                                                                                [22]

                            Samsung Galaxy Buds+ comprise a touch sensor detector to sense the various
                            gestures performed on earbud’s touchpad and the touch sensor detector in the
                            erbuds sends a signal to the electronic device controller:




                                                                                              [21]




                                                                                                 189
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                                                                           [26]

                            On information and belief, Samsung Galaxy Buds+ include a touch sensor
                            controller.




                                                                                         190
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Claim 40                                   Evidence

40. The system of claim 39 wherein the touch Samsung Galaxy Buds comprise a touch sensor detector that receives a signal
sensor detector sends a signal to the        from the touch sensor and further sends a signal to the electronic device
electronic device controller that the touch  controller that the touch sensor has been tapped, double-tapped, or swiped:
sensor has been tapped, double-tapped, or
swiped.




                                                                                                          [1]




                                                                                                   [15]




                                                                                                                 191
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                                                                                              [4]




                                                                                                [4]

                            On information and belief, the sensor hub of the BCM43014 System on Chip is
                            responsive to a touch sensor incorporated in Galaxy Buds:




                                                                                             192
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                                                                                          [5]




                                                                                    193
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                                                                          [9]




                                                                                          [12]




                                                                                    194
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                                                                                     [12]

                            Samsung Galaxy Buds+ comprise a touch sensor detector that receives a signal
                            from the touch sensor and further sends a signal to the electronic device
                            controller that the touch sensor has been tapped, double-tapped, or swiped:




                                                                              [24]




                                                                                                195
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                                                                                 [16]

                            On information and belief, the BCM43015 System on Chip includes a control unit
                            and a sensor hub. On information and belief, the sensor hub of the BCM43015
                            System on Chip is responsive to a touch sensor incorporated in Galaxy Buds+:

                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                                            196
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                                                                                      [22]




                                                                                    [21]




                                                                                       197
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                                                                           [26]

                            On information and belief, Samsung Galaxy Buds+ include a touch sensor
                            controller.




                                                                                         198
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Claim 41                                         Evidence

41. The system of claim 39 wherein the           Samsung Galaxy buds comprise an electronic device controller which sends a
electronic device controller sends a signal to   signal to an electronic device to operate the electronic device based upon the
an electronic device to operate the electronic   signal from the touch sensor detector:
device based upon the signal from the touch
sensor detector.




                                                                                                                  [1]




                                                                                                          [15]




                                                                                                                         199
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                                                                                              [4]




                                                                                                [4]

                            On information and belief, the sensor hub of the BCM43014 System on Chip is
                            responsive to a touch sensor incorporated in Galaxy Buds:




                                                                                             200
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                                                                                          [5]




                                                                                    201
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                                                                                 [9]

                            The operation like answering/ending a call or playing/pausing music on a Bluetooth
                            paired device (e.g. Smartphone) can be done by performing various gestures (e.g.
                            Single-tap, double-tap) on the touchpad of the earbuds:




                                                                                                         [12]




                                                                                                   202
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                                                                                     [12]

                            Samsung Galaxy Buds+ comprise a touch sensor detector that receives a signal
                            from the touch sensor and further sends a signal to the electronic device to
                            activate or deactivate the electronic device:




                                                                              [24]




                                                                                                203
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                                                                                 [16]

                            On information and belief, the BCM43015 System on Chip includes a control unit
                            and a sensor hub. On information and belief, the sensor hub of the BCM43015
                            System on Chip is responsive to a touch sensor incorporated in Galaxy Buds+:

                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                                            204
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                                                                                      [22]




                                                                                    [21]




                                                                                       205
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                                                                           [26]

                            On information and belief, Samsung Galaxy Buds+ include a touch sensor
                            controller.




                                                                                         206
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Claim 42                                     Evidence

42. The system of claim 41 wherein the touch Samsung Galaxy buds comprise a touch sensor detector which sends a signal to the
sensor detector sends a signal to the           electronic device to activate or deactivate the electronic device:
electronic device to activate or deactivate the
electronic device.




                                                                                                                [1]




                                                                                                        [15]




                                                                                                                       207
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                                                                                                        [4]




                                                                                                          [4]

                            On information and belief, the sensor hub of the BCM43014 System on Chip is responsive
                            to a Touch sensor incorporated in Galaxy Buds:




                                                                                                       208
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                                                                                          [5]




                                                                                    209
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                                                                                      [9]

                            The operation like answering/ending a call or playing/pausing music on a Bluetooth paired
                            device (e.g. Smartphone) can easily be done by performing various gestures (e.g. Single
                            tap, double-tap) on the touchpad of the earbuds.

                            Also, by using tap and hold gesture on earbuds touchpad, a conversation with voice
                            assistance can be initiated:




                                                                                                               [1]




                                                                                                         210
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                                                                                          [12]




                                                                                    211
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                                                                                     [12]



                            Samsung Galaxy Buds+ comprise a touch sensor detector that receives a signal
                            from the touch sensor and further sends a signal to the electronic device
                            controller that the touch sensor has been tapped, double-tapped, or swiped:




                                                                              [24]




                                                                                                212
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                                                                                 [16]

                            On information and belief, the BCM43015 System on Chip includes a control unit
                            and a sensor hub. On information and belief, the sensor hub of the BCM43015
                            System on Chip is responsive to a touch sensor incorporated in Galaxy Buds+:

                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                                            213
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                                                                                      [22]




                                                                                    [21]




                                                                                       214
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                                                                           [26]

                            On information and belief, Samsung Galaxy Buds+ include a touch sensor
                            controller.




                                                                                         215
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Claim 54                                   Evidence

54[pre]. An earphones holder comprising:   The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
                                           1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                           not limiting).



54[a] a holder body;                       Samsung Galaxy Buds comprise a charging case:




                                                                                               [9]


                                           Samsung Galaxy Buds+ comprise a charging case:




                                                                                                                         216
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                                                                                     [24]


54[b] one or more magnets attached to the   Samsung Galaxy Buds comprise a charging case with one or more magnets:
holder body;




                                                                                                 [1]




                                                                                                            [2]




                                                                                                                     217
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                                                                                    [3]




                                                                                          218
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                                                                                          [14]
                            English Translation: Use multiple magnets to assist in headphone positioning



                            Samsung Galaxy Buds+ comprise a charging case with one or more magnets:




                                                                         [24]




                                                                                                           219
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                                                                       [23]




                                                           [23]

                            Your device contains magnets, which may affect medical devices, such as
                            pacemakers or implantable cardioverter defibrillators. If you are using any of these
                            medical devices, keep your device a safe distance from them and consult with your
                            physician before you use the device. [24]




                                                                                                       220
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                                                                                           [16]




                                                                                    [16]

                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                                            221
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                                                                                                [16]



54[c] an earbud engagement detector; and   Samsung Galaxy Buds comprise an earbud engagement detector:




                                                                                                         [4]




                                                                                                         222
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                                                                                                         [4]
                            Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      223
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                                                                                          [5]




                                                                                    224
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                            [10]




                                                                                             [14]

                            The smartphone is activated when the detector detects that one or more magnet of the
                            earphones has been decoupled from the one or more magnetically attractable surfaces of
                            the holder:




                                                                                                       225
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                                                                             [8]




                            [8]




                                                                                    226
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                                                                                             [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            controls the sound output in the earbuds.




                                                                                                       227
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                            [11]



                            Samsung Galaxy Buds+ comprise an earbud engagement detector:




                                                                       [16]

                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                                                            228
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       229
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            230
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                                                                                    [22]




                                                                                    231
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                                                                  [23]




                                                                                    232
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                            Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                            one or more of the magnets comprising the holder body and accordingly control
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, audio stops.

                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones are coupled to one or more of the magnets. When paired to
                            a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                            deactivated and cannot play audio when in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                            Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                            Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




                                                                                                                 233
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54[d] an electronic device controller for         Samsung Galaxy Buds comprise, an electronic device controller for controlling an electronic
controlling an electronic device coupled to the   device (e.g. Smart Phone) coupled to the earphones:
earphones, wherein a metal portion of the
earphones removably couples with the one or
more magnets, further wherein the electronic
device controller sends an activation signal to
the electronic device when the earbud
engagement detector detects that the metal
portion of the earphones has been decoupled
from the one or more magnets.


                                                                                                                                  [4]




                                                                                                                                    [4]
                                                  Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                                 234
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                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      235
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                                                                                          [5]




                                                                                    236
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                            [10]




                                                                                      [14]


                            The smartphone is activated when the detector detects that one or more magnet
                            of the earphones has been decoupled from the one or more magnetically
                            attractable surfaces of the holder:




                                                                                               237
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                                                                                              [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            control the sound output in the earbuds.




                                                                                                         [11]




                                                                                                       238
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                            When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                            earphones activate and begin playing audio when removed from the charging case.




                            Quick pairing out
                            of the box
                            Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                            your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                            well on your way. 1,2,3
                            [6]

                            On information and belief, Galaxy Buds are compatible with Samsung Galaxy products, all
                            of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus,
                            and Galaxy S10e.




                                                                                                               [5]




                                                                                                        239
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                            On information and belief, Galaxy Buds are also compatible with other smartphones,
                            including without limitation Apple iPhones, which also include a controller for receiving
                            Bluetooth signals.




                                                               [7]

                            Also, the metal portion (Magnetic part) of the earbuds can removably couple with the one
                            or more magnets:




                                                                                     [1]




                                                                                                         240
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                                                                                      [2]




                            [13]

                            Samsung Galaxy Buds+ comprise an earbud engagement detector:




                                                                       [16]

                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                                                            241
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       242
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            243
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                                                                                    [22]




                                                                                    244
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                                                                  [23]




                                                                                    245
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                            Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                            one or more of the magnets comprising the holder body and accordingly control
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, audio stops.

                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones are coupled to one or more of the magnets. When paired to
                            a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                            deactivated and cannot play audio when in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                            Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                            Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




                                                                                                                 246
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Claim 55                                   Evidence

55[pre]. An earphones holder comprising:   The Preamble is non-limiting. STX LLC. v. Brine, 211 F.3d 588, 591, 54 USPQ2d 1347,
                                           1350 (Fed. Cir. 2000) (preamble that states a purpose or intended use for the invention is
                                           not limiting).



55[a] a holder body;                       Samsung Galaxy Buds comprise a charging case:




                                                                                                     [1]



                                           Samsung Galaxy Buds+ comprise a charging case:




                                                                                                                         247
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                                                                                        [24]




55[b] one or more holder magnets or            Samsung Galaxy Buds comprise a charging case with one or more magnets or
magnetically attractable surfaces coupled to   magnetically attractable surfaces:
the holder body; and




                                                                                                    [1]




                                                                                                                          248
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                                                                                    [2]




                                                                                          249
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                                                                                    [3]




                                                                                          250
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                                                                                          [14]
                            English Translation: Use multiple magnets to assist in headphone positioning

                            Samsung Galaxy Buds+ comprise a charging case with one or more magnets or
                            magnetically attractable surfaces for removably coupling with a magnetic surface of a set
                            of earphones:




                                                                         [24]




                                                                        [23]




                                                                                                           251
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                                                           [23]

                            Your device contains magnets, which may affect medical devices, such as
                            pacemakers or implantable cardioverter defibrillators. If you are using any of these
                            medical devices, keep your device a safe distance from them and consult with your
                            physician before you use the device. [24]




                                                                                    [16]




                                                                                                       252
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                                                                                    [16]

                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                           [16]




                                                                                                            253
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55[c] an electronic device controller for          Samsung Galaxy Buds comprise an electronic device controller for sending an activation
sending an activation signal to an electronic      signal to an electronic device (e.g. Smart Phone) when one or more earphones magnets
device, wherein one or more earphones              or magnetically attractable surfaces removably couple with the one or more holder
magnets or magnetically attractable surfaces       magnets or magnetically attractable surfaces:
removably couple with the one or more
holder magnets or magnetically attractable
surfaces, further wherein the electronic
device controller sends the activation signal to
the electronic device when magnetic
connection is broken between the one or
more earphones magnets or magnetically
attractable surfaces and the one or more
holder magnets or magnetically attractable
surfaces.
                                                                                                                               [4]




                                                                                                                                [4]

                                                   Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                              254
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                                                                                         [14]

                            On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                            the BCM43014 System on Chip are responsive to a magnetic Hall sensor:




                                                                                                      255
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                                                                                          [5]




                                                                                    256
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                            [10]




                                                                                             [14]


                            The smartphone is activated when magnetic connection is broken between the one or
                            more earphones magnets or magnetically attractable surfaces and the one or more holder
                            magnets or magnetically attractable surfaces:




                                                                                                       257
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                                                                                              [8]




                            [8]

                            Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                            of the magnetically attractable surfaces attached to the holder body and accordingly
                            control the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnetically attractable surfaces attached to the holder body, the
                            audio stops.




                                                                                                        258
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                            [11]

                            When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                            earphones activate and begin playing audio when removed from the charging case.




                            Quick pairing out
                            of the box
                            Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                            your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                            well on your way. 1,2,3
                            [6]

                            On information and belief, Galaxy Buds are compatible with Samsung Galaxy products, all
                            of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus,
                            and Galaxy S10e.




                                                                                                        259
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                                                                                                                [5]

                            On information and belief, Galaxy Buds are also compatible with other smartphones,
                            including without limitation Apple iPhones, which also include a controller for receiving
                            Bluetooth signals.




                                                               [7]


                            Samsung Galaxy Buds+ comprise, an electronic device controller for sending an activation
                            signal to an electronic device when the magnetic surface of the set of earphones is
                            decoupled from the one or more magnetically attractable surfaces, wherein the system
                            wirelessly communicates with the electronic device:




                                                                                                         260
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                                                                       [16]

                            Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                            belief, the S2MUA01X chips include a controller unit.




                                                                                            261
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                                                             [23]

                            On information and belief, BCM43015 System on Chip includes a control unit and a
                            sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                            controller and/or sensor hub of the BCM43015 System on Chip are responsive to a
                            magnetic Hall sensor:




                                                                                                       262
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                            The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                            does make better use of all of its internal space. This time, the 0.315Wh battery is
                            supplied by EVE instead of Varta, and it, together with the main printed circuit board
                            (PCB), reside in one half of the earbud. The other half of each earbud contains the
                            charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                            drivers which are reportedly more difficult to remove (and haven’t been in the video).
                            [17]




                                                                                        [16]




                                                                                                            263
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                                                                                    [22]




                                                                                    264
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                                                                  [23]




                                                                                    265
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                            Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                            one or more of the magnets comprising the holder body and accordingly control
                            the sound output in the earbuds. Further, if one or more earbuds are coupled to
                            one or more of the magnets comprising the holder body, audio stops.

                            The electronic device controller receives a deactivation signal when one or more of
                            the set of earphones are coupled to one or more of the magnets. When wirelessly
                            paired to a Bluetooth device that is playing audio, one or both Galaxy Buds+
                            earphones are deactivated and cannot play audio when in the holder.

                            Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                            or higher, including without limitation Samsung Galaxy products, all of which
                            include a controller configured to wirelessly send or receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                            S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                            A6, Galaxy S10, Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                            In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                            of higher.

                             Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                            10


                            RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [25]




                                                                                                                266
